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                                              RECORD OF MAGISTRATE'S PROCEEDINGS


             UNITED STATES OF AMERICA                                                MAGISTRATE'S DOCKET #

                         vs                                                          DATE OF COMPLAINT

                     JULIA SIZER                                                     CRIMINAL DOCKET NUMBER                      2:21-mj-1796-CRE-1

                                                                                     DATE OF INDICTMENT                          DC Court number 1:21-mj-579

                                                                                     STATUTE:

DATE ARRESTED:        9/2/2021

                                                                  INITIAL APPEARANCE

Before                LENIHAN                        X    EDDY                       Date:          9/2/2021                     C.D. Index

Magistrate            DODGE                               LANZILLO                   Time:          5:08 pm – 5:16 pm            Tape Index:

                      KELLY                               PESTO

U. S. ATTORNEY        SOO SONG

1. RIGHTS EXPLAINED

2. COMPLAINT/INDICTMENT/INFORMATION:

                 X    Read                                Summarized                 Reading waived

                      Defendant provided with a copy of the charges

                 X    Defendant to be provided with a copy of the charges as soon as possible

3. ACT & PENALTIES

                 X    Read                                Summarized                 Reading waived

4. COUNSEL            Defendant requested appointment                                Defendant waived appointment

                 X    Defendant represented by:      ROBERT MIELNICKI, private counsel

                      Defendant expects to retain:

                      Affidavit executed.

                      Not Qualified                       Qualified                  with possible requirement for partial or full payment

                      Federal Public Defender appointed

                      CJA Panel Attorney                                                                                         appointed

5. BAIL               Recommended Bond:

                      Bond Set at:                   $10,000.00 Unsecured

                 X    By Consent                     X    Additional Conditions Imposed:            .See Conditions of Release

                      By Magistrate

                      Bond Posted

                      Temporary Commitment issued                                    Final Commitment issued

                      Bond Review Hearing Set For:

                      Detention Hearing Set For:

6. PRELIMINARY EXAMINATION/RULE 40 HEARING/ARRAIGNMENT

                      Preliminary Exam/Arraignment:                                                 Before Magistrate Judge

ADDITIONAL COMMENTS:                                 Deft is scheduled for an IA in the District Court for DC on 9/8/21 at 1:00pm via ZOOM. Link provided to
                                                     counsel. Waiver of Rule 5 executed.
